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EXHIBIT 1
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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
(SAN FRANCISCO DIVISION)

IN RE: TFT-LCD (FLAT PANEL) No. 3:07-md-1827 SI
ANTITRUST LITIGATION MDL No. 1827
Individual Case No.: 3:10-cv-4572 SI

DEFENDANTS’ JOINT MOTION FOR

This Document Relates to: PARTIAL SUMMARY JUDGMENT
DISMISSING BEST BUY’S (1) PRE-

Case No. 3:10-cv-4572 SI OCTOBER 8, 2006 CLAIMS AS TIME

BARRED AND (2) POST-MAY 2003
BEST BUY CO. INC., et al., 1 ath: :
“eae CLAIMS FOR FAILURE TO MITIGATE
Plaintiff, DAMAGES
Vv.

Date: October 5, 2012
AU OPTRONICS CORPORATION, et al.,
Time: 9:00 a.m.
Defendants. “
Place: Courtroom 10, 19" Floor

Honorable Susan Ilston

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Case No. 3:07-MD 1827 SI, Case No. 3:10-cv-4572 SI

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TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

PLEASE TAKE NOTICE that on October 5, 2012, at 9:00 a.m., or as soon thereafter as the
matter may be heard, in Courtroom 10, 19th floor, San Francisco, California, before the Honorable
Susan Illston, the defendants listed in the signature blocks below (“Defendants”) will and hereby do
move the Court for partial summary judgment pursuant to Rule 56 of the Federal Rules of Civil
Procedure, dismissing any claims under the Sherman Act and Minnesota Antitrust Law of 1971
relating to conduct occurring before October 8, 2006 as barred by the applicable statute of limitations,
and barring any claims for damages for conduct after June 1, 2003, based on Best Buy’s failure to
mitigate its damages.

This motion is based on this Notice of Motion, the attached Memorandum of Points and
Authorities, the concurrently filed declaration of Robert E. Freitas and exhibits thereto, the pleadings
and records on file in this action, and on any additional evidence and arguments that may be
presented before or at the hearing of this motion.

ISSUES PRESENTED

lL. Whether, where the record shows that Best Buy was aware of the facts underlying its
claims in May 2003, or at least was aware of facts that should have excited its suspicions and failed
to exercise any diligence in investigating those facts, its claims under the Sherman Act and
Minnesota Antitrust Law of 1971 (“MAL”) relating to conduct occurring before October 8, 2006 are
barred by the applicable four-year statute of limitations.

2, Whether Best Buy’s alleged damages relating to conduct within the limitations period
are barred because Best Buy failed to take reasonable steps that could have eliminated its damages
entirely and instead knowingly allowed alleged treble damages to accumulate for several years.

PRIOR RELEVANT ORDERS

Pursuant to this Court’s Order of April 9, 2012 (MDL Dkt. No. 5430), Defendants are not

aware of any prior orders of the Court related to the issues in this motion.

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INTRODUCTION

It is indisputable that at least as early as May 15, 2003 Best Buy knew about a “panel cartel”
that was “conspiring to keep supply down to drive prices up” in relation to notebook computers Best
Buy was attempting to purchase for resale. On that date, a Best Buy Merchandising Director
documented this “panel cartel” information, shared it by e-mail with 10 other Best Buy employees
(including his superior, the Director of Computing Hardware), which information was in turn
presented at Best Buy’s Regional Vice President meeting on May 28, 2003. After those events, Best
Buy took no steps to investigate, address or attempt to halt the “panel cartel” it had identified. Best
Buy’s own documents prove these undisputed facts.

Having done nothing when it could timely do so, Best Buy now seeks over $850 million in
alleged damages (before trebling) for overcharges it purportedly incurred as a result of a “secret
conspiracy” related to LCD panels. Those damages rest on claims under the Sherman Act and MAL
for TFT-LCD products Best Buy purchased directly and indirectly. Best Buy alleges that it should be
able to recover for periods outside the four-year statute of limitations under the Sherman Act and
MAL because the alleged TFT-LCD conspirators “wrongfully concealed” a “secret conspiracy” that
Best Buy did not discover, and could not have discovered, until December 2006. First Am. Compl. at
{{] 309, 311. There are no facts in the undisputed record, however, to support those allegations.
Instead, the opposite is true. The “panel cartel” information was known internally among at least two
dozen Best Buy employees in May 2003, including management at the Vice President level. Yet,
Best Buy did nothing to act on this information until October 8, 2010, when Best Buy finally filed its
complaint. In light of these facts, Best Buy cannot possibly establish “fraudulent concealment” and
cannot recover under the Sherman Act or MAL. Judgment dismissing all of Best Buy’s claims for
damages that accrued before October 8, 2006 should therefore be entered.

Moreover, because it knew of this “panel cartel” activity in May 2003, Best Buy had a duty to
take affirmative steps to mitigate future losses. Best Buy instead carried on business as usual for
three-and-a-half years with the Defendants and TFT-LCD product vendors before the Department of

Justice revealed its investigation, during which Best Buy failed to alert the authorities or the public of

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its knowledge of a “panel cartel.” Once the DOJ announced its investigation, Best Buy waited
another three years and 10 months before it finally filed this lawsuit in October 2010. Had Best Buy
acted promptly, it could have avoided the overwhelming majority of the alleged damages it now
claims. Allowing Best Buy to recover damages in these circumstances would encourage future
antitrust plaintiffs with knowledge of price-fixing activities to increase their damages through
deliberate inaction and to keep secret such activities from other potential plaintiffs. This would waste
judicial resources, undermine the purpose of the antitrust laws, and harm the public. Judgment
dismissing all of Best Buy’s claims for damages arising after June 1, 2003 should also be entered as a
result of Best Buy’s failure to mitigate.
I. STATEMENT OF FACTS

A. Best Buy’s Claims and Fraudulent Concealment Allegations

Best Buy filed its complaint in this case on October 8, 2010. See Individual Dkt. No. 1. It
asserts claims for “direct purchases” of LCD panels or products under Sherman Act Section | and the
Clayton Act. First Am. Compl. {§] 324-331. Best Buy separately asserts claims under the Minnesota
Antitrust Act for its “indirect purchases” of LCD panels or products. Jd. 332-339. All of Best
Buy’s claims are based on an alleged conspiracy “from at least January 1, 1996 until approximately
December 11, 2006.” Jd. 1.

Best Buy alleges that any applicable statute of limitations was tolled as to its claims “[a]s a
result of Defendants’ fraudulent concealment of their conspiracy.” Jd. § 323. Specifically, Best Buy

alleges that it “had neither actual nor constructive knowledge of the facts supporting its claim for

relief despite diligence in trying to discover the pertinent facts.” Jd. $309 (emphasis added). Best

Buy further alleges that it “did not discover, and could not have discovered through the exercise of

reasonable diligence, the existence of the conspiracy alleged herein until December 2006, when

investigations by the DOJ and other antirust regulators became public.” Jd. (emphasis added).
Finally, Best Buy alleges that “Defendants’ secret conspiracy did not give rise to facts that would put
Plaintiffs on inquiry notice that there was a conspiracy to fix the prices of LCD panels.” Id.

(emphasis added). As described below, discovery has proven each of these allegations false.

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B. Best Buy Learns of the “Panel Cartel” from an Alleged Conspirator in 2003

In October 2011, Best Buy produced in discovery documents that unequivocally demonstrate
that it had knowledge of an LCD panel cartel by at least May 15, 2003. Among other documents,
Best Buy’s production included a May 15, 2003 e-mail from Best Buy Merchandising Director Kevin
Winneroski to 10 other Best Buy employees and to six employees of Toshiba America Information
Systems (“TAIS”), an entity that sold notebook computers containing LCD panels to Best Buy.
Declaration of Robert E. Freitas In Support of Mot. for Partial Summ. J. Re Time Barred Claim and
Failure to Mitigate (“Freitas Decl.”), Ex. 1 (BB Dep. Ex. 80; BBYLCD0035887), Ex. 2 (Winneroski
Dep. at 15:5-15).

Mr. Winneroski’s e-mail included an attachment that was titled “Vendor Recap,” was drafted
by Best Buy, and described a meeting of the same day between Mr. Winneroski and several TAIS
employees. Jd. (BBYLCD0035888-89). Mr. Winneroski’s notes of the TAIS meeting, which were
organized in table format, include a row of information related to components for notebook

computers. /d, Those notes state as follows:

Key Issues Decisions reached Action (or next | Owner Action Due
Discussed steps) What of resolution Date
action by what | action sent to
time steps
Component | Panels are a spotty issue—not Continue to share | Kevin/ Ongoing
Risks in necessarily any real shortages, information on Diane/
Notebooks likely more of an issue of the component level | Kurt/
“panel cartel” conspiring to keep | issues and work | Howard
supply down to drive prices up. to collaboratively | / Matt

Real issue is hard drives—IBM
exited the business two months ago,
selling out to Hitachi, leaving
Hitachi and Toshiba as main
suppliers. Hitachi has been unable
to ramp up demand-——serious
ongoing issue.

anticipate
potential
shortages and
plan far enough
ahead to mitigate
risk,

Id. (BBYLCD0035889) (bold and underline added).

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Mr. Winneroski testified that the information in the “Decisions Reached” column (where the
“panel cartel” is referenced) constitutes the “specific conclusions from the meeting or any key
comments that would be helpful for the audience that I was sending it to to understand, have an
understanding of the meeting.” Freitas Decl., Ex. 2 (Winneroski Dep. at 58:23 to 59:12). Such
comments would include information Mr, Winneroski received from Best Buy’s vendors, information
Mr. Winneroski provided to Best Buy’s vendors, and mutual understandings reached by Best Buy
and its vendors. Jd. (Winneroski Dep. at 59:13-22),.

In the cover e-mail that forwarded the notes of this meeting to the 10 Best Buy employees and
six TAIS employees, Mr. Winneroski explained that, during his meeting with TAIS, “Kurt Skilling
[sic] had some key insights into component issues in the industry that were very helpful in
triangulating some of the feedback we have heard in the past few weeks from Toshiba and others.”
Id., Ex, 1 (BBYLCD0035888 at 4/4). During his deposition, Mr. Winneroski asserted that “key
insights into component issues,” including the information regarding the “panel cartel,” was provided
to him at the May 15, 2003 meeting by TAIS employee Kurt Skillman:

Q. It states “Panels are” -- I’m not going to read the whole thing, only the first sentence.
“Panels are a spotty issue. Not necessarily any real shortages. Likely more of an issue of
the ‘panel cartel’ conspiring to keep supply down to drive prices up.” Do you see that?

A. Ido.

Q. So your understanding is that that is one of the issues that Kurt Skillman had insights
into regarding component issues under Point Number 4 on the e-mail?

A. I would tie that back to Kurt Skillman, I refer to him as Skilling, listing that as one of
their reasons, yes.

Freitas Decl., Ex. 2 (Winneroski Dep. at 55:5-19). Notably, Best Buy alleges that TAIS and several
other “Toshiba” entities were participants in the alleged LCD price fixing conspiracy. First Am.
Compl. [{ 67-71.
C. Best Buy’s Management Discusses the “Panel Cartel” at Internal Presentation
Mr. Winneroski’s May 15, 2003 email was not the end of the discussion of the “panel cartel”
issue at Best Buy. Two weeks later, on May 28, 2003, an internal Best Buy “RVP Monthly Briefing”

presentation was made by and to several Best Buy employees, including but not limited to Barry

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Judge, Vice President of Consumer & Brand Marketing, and Wendy Fritz, a Business Group
Manager and Director of Computing Hardware (i.e., Mr. Winneroski’s supervisor). Freitas Decl.,
Ex. 3 (BB Dep. Ex. 114; BBYLCD83155-83221), Ex. 5 (Fritz Dep. at 20:19-22; 59:3-14). The
presentation included a PowerPoint document with a slide entitled “Notebook Inventory — June FY

‘04.” Id. (BBYLCD83157). On that slide is the following statement:

—-Components
- Hard drives — IBM exited business, sold to Hitachi

~ Panels — cartel holding supply down to drive pricing
- Chassis for HP

Id. (BBYLCD83159) (emphasis added). The notes of the “RVP Monthly Briefing” state that there
were at least six additional Best Buy presenters at the meeting beyond those who received
Mr. Winneroski’s original email discussing the “panel cartel.” Jd. at BBYLCD83157). Thus, at least
16 Best Buy employees received this “panel cartel” information, with the number of additional Best
Buy employees who received the information at the May 28, 2003 “RVP Monthly Briefing”
unknown. /d., Ex. 5 (Fritz Dep. at 61:21 to 62:15) (explaining that the presentation would have been
made to the Regional Vice Presidents and probably the team giving the presentation).

That too did not end the matter. Best Buy procurement personnel were still discussing the
“cartel” related to panels at least two years later. A March 7, 2005 e-mail authored by Best Buy’s
Jason McClain and sent to over a dozen Best Buy employees (10 of which were not prior recipients
of the information), stated in reference to year-over-year inventory levels that “the industry was low
on... panels (cartel holding supply down to drive pricing).” /d., Ex. 4 at (BB Dep. Ex. 79;
BBYLCD8530-32).

D. Best Buy Employees believed the “Panel Cartel” was Impacting Their Business

The Best Buy documents produced in discovery establish that Best Buy believed its business
was being impacted by the notebook component shortages, including the May 2003 shortage it
believed to have been caused in part by the “panel cartel.” Mr. Winneroski noted in his May 15,
2003 email that for the months “May-July [Best Buy is] receiving (11.1%) less than requested” with

respect to its order of notebook computers from TAIS. Jd, Ex. 1. Additionally, the text of the

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May 28, 2003 report presented by Best Buy Business Group Manager Wendy Fritz and Inventory
Manager Diane Sherwood states: “There are hard drive, panel & Chassis shortages, each are

plaguing our vendors and sku’s in_a_different_way.” Jd. (emphasis added). Finally, in

Mr. McClain’s March 2005 e-mail, he acknowledged that in May 2003 Best Buy “hit a 7 wk period
of low SKU [product] count” for several reasons, including that the “industry was low on . . . panels
(cartel holding supply down to drive pricing)” and Best Buy was having “vendor issues,” including
“Toshiba commits 11% below requested levels.” /d., Ex. 4 (BBYLCD8531),.

E. Best Buy Employees Knew that an alleged “Panel Cartel” was Cause for Action

Defendants deposed several Best Buy employees regarding their understanding of the
documents referencing the alleged “panel cartel” that was believed to be “conspiring to keep supply
down to drive prices up” and causing the “shortages” that were “plaguing [Best Buy’s] vendors and
sku’s.” At least some of those employees received antitrust training at Best Buy. Mr. Winneroski
testified that he received antitrust training in the “mid 2000s.” /d., Ex. 2 (Winneroski Dep. at 70:20 to
71:7). He was “absolutely” informed during such training “that [Best Buy] couldn’t reach
agreements with your competitors to set the prices of products” and “couldn’t agree with [Best
Buy’s] competitors to limit the supply of certain products.” Jd, (Winneroski Dep. at 71:12-19).
Mr. Winneroski also understood through his training that such agreements could be illegal and lead to
a lawsuit. /d. (Winneroski Dep. at 71:20-25).

Mr. Winneroski’s supervisor, Business Group Manager and Director of Computing Wendy
Fritz, also received antitrust training, though she stated she could not recall when it occurred. Jd,
Ex. 5 (Fritz Dep. at 48:23 to 49:15). Ms. Fritz was trained that if she suspected that Best Buy’s
vendors were violating antitrust laws to “escalate it to our supervisor as well as a point within legal.”
Id. (Fritz Dep. at 50:16-23). Ms. Fritz also would have been aware in 2003 that it would have been a
basis for action for Best Buy’s vendors to be part of a cartel “focused on keeping supply down in

order to drive up [Best Buy’s] prices.” Jd. (Fritz Dep. at 51:21-23).

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F. Best Buy Took No Action to Investigate the “Panel Cartel” Information When It
Learned of that Information In May 2003

After the meeting with TAIS where the “panel cartel” was discussed, Best Buy employees did
not take action with respect to investigating or pursuing that information. Specifically,
Mr. Winneroski testified that he did not discuss with anyone at Best Buy whether there should be an
investigation as to whether Best Buy was being harmed by a “panel cartel,” did not contact counsel
inside or outside Best Buy, did not discuss with anyone at Best Buy whether Best Buy should file a
lawsuit, and did not contact law enforcement or know of anyone else at Best Buy contacting law
enforcement. Jd., Ex. 2 (Winneroski Dep. at 81:3 to 83:8). Similarly, Ms. Fritz testified that she
could not recall anyone at Best Buy doing anything to investigate whether there was truth to the panel
cartel allegation from 2003 to 2006, did not contact law enforcement or know of anyone at Best Buy
who did so, and did not discuss with anyone whether Best Buy should initiate a lawsuit against panel
makers. /d., Ex. 5 (Fritz Dep. at 78:18 to 80:2). Finally, Diane Sherwood, who was also a recipient
of the May 15, 2003 email and a presenter at the May 28, 2003 Regional Vice President meeting,
could not recall any investigation into the “panel cartel.” /d., Ex. 6 (Sherwood Dep. at 60:22 to
61:11). There is no evidence that anyone of the more than 20 Best Buy employees, managers, and
executives who were informed of the “panel cartel” investigated those facts or took one step to limit
any alleged harm occurring as a result of supply shortages or price increases.

Il. ARGUMENT .

Summary judgment must be granted if “there is no genuine issue as to any material fact and
the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). Where the non-moving
party bears the burden of proof, the moving party need only show that the non-moving party lacks
evidence sufficient to create an issue of material fact. Celotex Corp. v. Catrett, 477 U.S. 317, 325
(1986). Thus, Best Buy must “do more than simply show that there is some metaphysical doubt as to
the material facts” to defeat summary judgment. Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio

Corp., 475 U.S. 574, 586 (1986). “The mere existence of a scintilla of evidence [is] insufficient;

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there must be evidence on which the jury could reasonably find for [Best Buy].” Anderson v. Liberty
Lobby, Inc., 477 U.S. 242, 252 (1986).

Here, the record evidence shows that Best Buy received unequivocal information of the
existence of the “panel cartel,” which was disseminated to more than 20 individuals within Best Buy.
Thus, Best Buy had actual knowledge of what it understood was “panel cartel” activity far in advance
of the statutory period, and then failed to take reasonable steps (or any steps) to seek to avoid
damages from such a “panel cartel.” No reasonable jury could find otherwise. Best Buy therefore
cannot rely on “fraudulent concealment” as a basis for tolling its claims. Nor can Best Buy rely on
any other tolling doctrine because Best Buy did not plead such doctrines in its complaint. Best Buy’s
claims for damages prior to October 8, 2006 are barred by the statute of limitations.

Additionally and independently, Best Buy’s claims for damages arising after May 2003 are
barred as a matter of law because the undisputed facts establish that Best Buy took no action to
mitigate its damages. Best Buy did not investigate the “panel cartel” information, did not initiate a
lawsuit against any panel manufacturers, and did not convey what it knew to any government
enforcement officials. Judgment should therefore be entered dismissing Best Buy’s claims for
alleged damages that arose after May 2003.

A. Best Buy’s Claims for Conduct Prior to October 8, 2006 Are Barred By the

Statute of Limitations

The Sherman Act and Clayton Act provide for a four-year statute of limitations. 15 U.S.C.
§ 15b. The MAL similarly provides that all claims for violations of its provisions “shall be forever
barred unless commenced within four years of the date upon which the cause of action arose.” See
Minn. Stat. § 325D.64(1).’ Here, Best Buy elected not to file a complaint until October 8, 2010. See

Individual Dkt. No.1. Thus, Best Buy’s claims are limited to damages arising no earlier than

' The MAL further provides that “[flor the purpose of this section, a cause of action for a continuing
violation is deemed to arise at any time during the period of the violation.” Jd. Although Minnesota
courts have not interpreted the “continuing violation” provision, the Supreme Court of at least one
other state court interpreting nearly identical statutory language has held that a “suit for a continuing
violation may take place at any time during which the violation was ongoing but [the plaintiff's]
recovery is limited to the period prior to the filing of suit prescribed by the applicable statute of
limitations.” Alakayak v. British Columbia Packers, Ltd., 48 P.3d 432, 463 (Alaska 2002).

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October 8, 2006, unless Best Buy can prove its allegation that the claim was tolled by Defendants’

fraudulent concealment. Best Buy cannot do so.

1. Best Buy Cannot Establish that Fraudulent Concealment Tolls the Statute
of Limitations on Its Claims

Best Buy cannot establish the requirements for “fraudulent concealment” tolling under federal
or Minnesota law, and judgment should be entered accordingly. Best Buy cannot establish fraudulent
concealment under federal law if it “discovered or should have discovered [the cause of action] but
failed to file a timely complaint.” Volk v. D.A. Davidson & Co., 816 F.2d 1406, 1417 (9th Cir. 1987);
see also In re Milk Products Antitrust Litig., 84 F. Supp.2d 1016, 1022 (D. Minn. 1997) (requiring
showing of “(1) Defendants concealment of Plaintiffs’ cause of action, (2) failure by Plaintiffs to
discover the existence of their cause of action, and (3) due diligence by Plaintiffs in attempting to
discover the claim.”). Similarly, under Minnesota law, Best Buy must establish: (i) there was an
affirmative act or statement which concealed a potential cause of action, (ii) that statement was
known to be false, and (iii) that the concealment could not have been discovered by reasonable
diligence. See Williamson v, Prasciunas, 661 N.W.2d 645, 650 (Minn. Ct. App. 2003). “Fraudulent

concealment, if it occurs, will toll the running of the statute of limitations until discovery or

reasonable opportunity for discovery of the cause of action by the exercise of due diligence.”

Holstad v. Southwestern Porcelain, Inc., 421 N.W.2d 371, 374 (Minn. Ct. App. 1988) (emphasis
added). Best Buy has the burden of proving each element of fraudulent concealment. See Rutledge
v. Boston Woven Hose & Rubber Co., 576 F.2d 248, 249 (9th Cir. 1978); Wild v. Rarig, 234 N.W.2d
775, 795 (Minn. 1975) (“The party claiming fraudulent concealment has the burden of showing that
the concealment could not have been discovered sooner by reasonable diligence on his part and was
not the result of his own negligence.”). “Merely establishing that a defendant had intentionally
concealed the alleged [acts] is insufficient.” Hvdra-Mac, Inc. v. Onan Corp., 450 N.W.2d 913, 919
(Minn. 1990), as amended (Minn. Jan. 30, 1990).

Best Buy cannot meet its burden. First, the undisputed record establishes that Best Buy had

actual knowledge—unambiguous statements received directly from an entity Best Buy now alleges

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was a co-conspirator—that a “panel cartel” was supposedly “conspiring to keep supply down and
drive prices up” more than seven years before Best Buy filed its complaint. Second, upon receiving
this information, Best Buy did nothing to exercise “reasonable diligence” in attempting to investigate

or assert its potential claims.

a. Best Buy Had Knowledge of the Facts Underlying its Claim in May 2003

The documentary evidence produced by Best Buy in discovery and deposition testimony of its
witnesses precludes Best Buy from establishing that it did not have actual knowledge of the facts
underlying its claims. Federal courts do not permit a plaintiff to rely on fraudulent concealment
tolling where the plaintiff had knowledge of the facts underlying the claim. See Hennegan v.
Pacifico Creative Serv., Inc., 787 F.2d 1299, 1302 (9th Cir. 1986) (finding no fraudulent concealment
where record indicated plaintiffs had knowledge of activities allegedly giving rise to antitrust claims
prior to limitations period); Rutledge, 576 F.2d at 249 (finding no fraudulent concealment where
record showed plaintiff suspected anticompetitive behavior based on competitor pricing as early as
ten years before filing suit); Western Shoe Gallery, Inc. v. Duty Free Shoppers, Ltd., 593 F. Supp.
348, 350 (N.D. Cal. 1984) (plaintiff's “actual knowledge of the operative facts which are the basis of
his claims [. . .] prevents him from asserting fraudulent concealment.”). “Any fact that should excite
his suspicion is the same as actual knowledge of his entire claim.” Conmar Corp. v. Mitsui & Co.,
858 F.2d 499, 502 (9th Cir. 1988). Minnesota courts have likewise rejected allegations of fraudulent
concealment where, as here, the evidence reflects that the plaintiff possessed facts that put it on
notice of its claim. See, e.g., Hanna Mining Co. v. Internorth, Inc., 319 N.W.2d 663 (Minn. Ct. App.
1986) (affirming lower court’s finding that statute of limitations was not tolled by fraudulent
concealment where plaintiff had knowledge of the rates that it claimed were discriminatory); Vasek v.
Warren Grain & Seed Co., 353 N.W.2d 175, 177 (Minn. Ct. App. 1984) (holding that fraudulent
concealment regarding financial condition of defendant did not toll statute of limitations where
plaintiff was made aware of the financial condition through the closing of defendant’s business);
Tackleson v. Abbott-Nw. Hosp., Inc., 415 N.W.2d 733, 734-35 (Minn. Ct. App. 1987) (holding that

fraudulent concealment regarding medical condition did not toll statute of limitations where

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defendant provided notice of cause of action by offering to waive medical bill in exchange for release
of liability).

Here, irrefutable evidence establishes Best Buy’s knowledge of the facts underlying its
claims. A Best Buy Merchandising Director (Kevin Winneroski) received clear information from an
alleged co-conspirator (TAIS) that there was a “panel cartel” that was allegedly “conspiring” to affect
the prices of a component in products being purchased by Best Buy. That employee immediately
passed on this information to at least 10 other Best Buy employees, including his supervisor Wendy
Fritz, Within two weeks, Ms. Fritz and others then presented the “panel cartel” information at a
Regional Vice President meeting, which included Barry Judge, Vice President of Consumer & Brand
Marketing. These uncontested facts are established by documentary evidence produced from Best
Buy’s own records and the testimony of its own representatives. No reasonable finder of fact could
conclude on this record that Best Buy lacked knowledge regarding Defendants’ alleged
anticompetitive conduct. For this reason alone, judgment should be entered for Defendants on Best

Buy’s claims for damages prior to October 8, 2006 for failure to timely file its complaint,

b. Even Though It Had Knowledge of a “Panel Cartel,” Best Buy Failed to
Reasonably Investigate Its Claims

Even if Best Buy did not have actual knowledge of the facts underlying its claims (it did),
Best Buy cannot rely on fraudulent concealment to toll the statute of limitations unless it also
establishes that the basis for the claim could not have been discovered despite Best Buy’s reasonable
diligence in trying to discovery the pertinent facts. Rutledge, 576 F.2d at 250; Williamson, 661
N.W.2d at 650. Best Buy cannot do so.

While the question of “reasonable diligence” is generally one of fact, federal and Minnesota
courts nonetheless have granted summary judgment to defendants where the undisputed record is
devoid of facts that could support a conclusion that the plaintiff's actions or beliefs were reasonable.
See, e.g., See In re Aluminum Phosphide Antitrust Litig., 905 F. Supp. 1457, 1468-71 (D. Kan. 1995);
Yonak v. Severson, 2005 WL 3291817 *4 (Minn. App. 2005) (affirming grant of summary judgment

to defendant regarding fraudulent concealment because plaintiffs failed to exercise “reasonable

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diligence”). For example, in Aluminum Phosphide, the court granted defendants’ motion for partial
summary judgment as to the plaintiffs’ “fraudulent concealment” allegations in part because there
was no question plaintiffs did not exercise due diligence in discovering the facts underlying their
claim. 905 F. Supp. at 1468-71. One of the plaintiffs conducted a marketing and purchasing survey
before asserting its price fixing claim and “concluded that the price of Aluminum Phosphide was high
and that it was similar among certain sellers,” and the plaintiffs’ counsel was contacted “concerning
antitrust issues in the Aluminum Phosphide industry.” Jd. at 1471. Although the plaintiffs stated that
they did not have knowledge of the price fixing scheme prior to the unsealing of criminal
indictments, the Aluminum Phosphide court concluded that this argument “misses the point . . .

plaintiffs were aware of or should have been aware of facts which would excite inquiry into their

claims.” Jd. (emphasis added).

In Yonak, the plaintiffs claimed that their counsel was liable for malpractice for failure to
disclose the terms of an employment agreement. 2005 WL 3291817, at *1-2. The plaintiffs,
however, were aware that some employment agreement existed. /d. at *1. Although the plaintiffs
claimed to not have discovered the specific terms of the agreement until after the expiration of the
statute of limitations period, both the lower court and appellate court concluded that the plaintiffs
could have discovered those terms through reasonable diligence but failed to do so. Jd. at *2, 4.
Specifically, the plaintiffs failed to request copies of the relevant documents and failed to inquire as
to their terms. /d. at *4.

Best Buy cannot show that it exercised reasonable diligence—or any diligence—in attempting
to discover existence or the extent of the alleged “panel cartel” after its meeting with TAIS. As
described above, even though Best Buy received information directly from one of the alleged
conspirators that the “panel cartel” that was “conspiring” to affect the prices of products Best Buy
was purchasing, it did absolutely nothing to investigate. None of the Best Buy deponents discussed
concerns about a “panel cartel” with their supervisors, with other company management, or with
company counsel. And no one at Best Buy sought to initiate a lawsuit or report to law enforcement

what Best Buy had learned, despite the fact that at least some Best Buy employees who knew about a

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“panel cartel” received internal antitrust training. These undisputed facts require summary judgment
in favor of Defendants. Indeed, the facts in this case are more compelling than those relied upon by
the courts in finding no fraudulent concealment in the Aluminum Phosphide and Yonak.

Under the undisputed circumstances of this case, no reasonable fact finder could conclude that
Best Buy exercised any diligence with respect to discovery of the alleged facts that underlie its
claims, let alone “reasonable diligence.” Summary judgment is required for this reason as well,

2. Best Buy Cannot Rely on Equitable Tolling Doctrines It Did Not Plead

Defendants anticipate that Best Buy will attempt to argue that the statute of limitations was
equitably tolled for some period as a result of suits initiated on behalf of class plaintiffs. See Am.
Pipe & Constr. Co. v. Utah, 414 U.S. 538, 554 (1974) (“[T]he commencement of a class action
suspends the applicable statute of limitations as to all asserted members of the class who would have
been parties had the suit been permitted to continue as a class action.”). Best Buy would be wrong to
do so because Best Buy has never alleged that any class complaints—based on either direct or
indirect purchases—tolled the statute of limitations on its claims. See First Am. Compl. {[] 309-323
(alleging only fraudulent concealment as a basis for tolling). Indeed, Best Buy’s First Amended
Complaint is devoid of any mention of either the class action cases or equitable tolling on that basis.

The absence of any factual or legal allegations related to equitable tolling based on similar
class action cases prohibits Best Buy from now relying on such tolling. The Ninth Circuit has held
that a plaintiff cannot newly allege the application of an equitable tolling doctrine in opposition to a
summary judgment motion. See Wasco Prods., Inc. v. Southwall Tech., Inc., 435 F.3d 989, 991-992
(9th Cir. 2005) (“federal courts have repeatedly held that plaintiffs seeking to toll the statute of

limitations on various grounds must have included the allegation in their pleadings: this rule applies

even where the tolling argument is raised in opposition to summary judgment”) (emphasis added)
(citing numerous cases). The Wasco court held that, “summary judgment is not a procedural second
chance to flesh out inadequate pleadings.” Jd. at 992 (citing Fleming v. Lind-Waldock & Co., 922
F.2d 20, 24 (Ist Cir. 1990)). This court has similarly ruled that claims are subject to dismissal on

statute of limitations grounds unless the basis for tolling has been pled in the complaint. See In re

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TFT-LCD (Flat Panel) Antitrust Litig. (“Tweeter”), MDL Dkt. No. 4867, at 3 (ruling that “plaintiffs
in this MDL proceeding must plead with specificity the bases for their entitlement to tolling” and
cannot rely on “gencralized allegations”) (emphasis added) (citing Hinton v. Pac. Enters., 5 F.3d 391,
395 (9th Cir. 1993) (“The burden of alleging facts which would give rise to tolling falls upon the
plaintiff [and he or she] ‘must plead with particularity the circumstances ... and facts . . . .”); In re
TFT-LCD (Flat Panel) Antitrust Litig. (“AT&T”), MDL Dkt. No. 4706, at 4-5 (N.D. Cal. Jan. 30,
2012) (granting motion to dismiss where “[plaintiff] has not alleged fraudulent concealment on the
theory that defendants concealed their identities”),

Best Buy has never pled that the statute of limitations was equitably tolled based on the filing
of class actions under American Pipe. It cannot now raise a new equitable tolling doctrine for the
first time on summary judgment.

B. . Best Buy Failed to Mitigate Any Damages It Incurred After May 2003

Separate and apart from the legal issue of the statute of limitations—which governs when
claims are so stale that they cannot be brought before the Court—is the issue of mitigation of
damages. Even for timely claims, a plaintiff has an affirmative obligation to take reasonable steps to

avoid damages. See Ellerman Lines, Ltd. v. The President Harding, 288 F.2d 288 (2d Cir. 1961)

| (Friendly, J.) (“a tort defendant is not liable for consequences preventable by action that reason

requires the plaintiff to take”). Where, as here, there is no genuine dispute that the plaintiff failed to
reasonably mitigate, summary judgment is proper. E.g., Caudle v. Bristow Optical Co., 224 F.3d
1014 (9th Cir. 2000) (affirming summary judgment that plaintiff failed to mitigate damages); In Re
Fortune Sys. Sec. Litig., 680 F. Supp. 1360, 1370-1371 (N.D. Cal. 1987) (granting partial summary
judgment that plaintiff failed to mitigate damages after learning of securities fraud: declining to
“award plaintiffs the opportunity to recover for being unreasonable”). The record shows that Best
Buy tailed to take prompt and reasonable steps that could have eliminated its damages by curtailing

the existence and/or effectiveness of a “panel cartel” that now allegedly forms the basis of its claims.

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1. Antitrust Plaintiffs Are Not Permitted to Increase Treble Damages
Through Inaction

An antitrust plaintiff may not merely sit back and do nothing to protect itself economically
when faced with the possibility that damages may result from the conduct of another. See MCT v.
AT&T, 708 F.2d 1081, 1207 (7th Cir. 1983) (antitrust suit where failure to complain to regulatory
authorities was a factor in mitigation defense); ABA Section of Antitrust Law, MODEL JURY
INSTRUCTIONS IN CIVIL ANTITRUST CASES, 2005 Ed. (2005) (“Model Instructions”) at F-47 (“Plaintiff
may not recover damages for any portion of its injuries that it could have avoided through the
exercise of reasonable care and prudence. Plaintiff is not entitled to increase any damages through
inaction.”).” A plaintiff must protect itself by acting in a commercially reasonable manner to
minimize the amount of damages incurred. MCI, 708 F.2d at 1207; Bemidji Sales Barn, Inc. v.
Chatfield, 250 N.W.2d 185, 189 (Minn. 1977) (“While the law provides the claimant with a remedy
whether he seeks to avoid injurious consequences or not, the amount of damages recoverable is
limited to the extent that he acted reasonably to prevent his own loss.”). This duty to mitigate
damages applies to antitrust plaintiffs irrespective of the specific type of antitrust violation alleged.
E.g., MCI, 708 F.2d at 1207; Pierce v. Ramsey Winch Co., 753 F.2d 416 (Sth Cir. 1985) (vertical
price-fixing under Section 1); Litton Systems v. AT&T, 700 F.2d 785, 820 n.47 (2d Cir. 1983) (willful
maintenance of monopoly power under Section 2); Borger v. Yamaha, 625 F.2d 390, 399 (2d Cir.
1980) (refusal to deal under Section 1); Hanover Shoe, Inc. v. United Shoe Machinery Corp., 185 F.
Supp. 826, 829 (M.D. Pa. 1960) (unlawful overcharges under Section 2).?

Although it appears that Minnesota’s state courts have not specifically addressed the defense of a
failure to mitigate under the MAL, Minnesota law generally recognizes the failure to mitigate as an
affirmative defense. See First Nat’l Bank of LeCenter v. Farmers Union Mktg. and Processing Ass’n,
371 N.W.2d 22, 26 (Minn. App. 1985) (“Under the theory of avoidable consequences, a plaintiff with
an otherwise valid claim is denied recovery [if] he failed to mitigate the consequences of a known
wrong.”). Defendants are aware of no Minnesota case law holding that this duty to mitigate is
inapplicable to antitrust claims.

* The mitigation of damages defense also applies to other types of statutory claims involving
intentional harm. For example, this Court has dismissed damages claims arising after investors knew
of securities fraud and, therefore, were on notice that they should act to avoid further losses. E.g., In
Re Fortune, 680 F. Supp. at 1370-1371; In re Cypress Semiconductor Sec. Litig., 1992 U.S. Dist.
LEXIS 22480 (N.D. Cal. Sept. 23, 1992) (citing Royal Air Properties, Inc. v. Smith, 312 F.2d 210,
213-14 (9th Cir. 1962) (“The purpose of the Securities Exchange Act is to protect the innocent

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Best Buy has previously argued that private antitrust plaintiffs in horizontal price fixing cases
are somehow exempt from this longstanding rule. See Best Buy’s Opp’n to Defs.’ Objection to
Special Master’s Order Denying Mot. for Leave to Disclose Anthony Nanni as an Expert, MDL Dkt.
No. 5476, at 11-13 It attempted to rely on the 16 year-old district court decision in In re Airline
Ticket Comm'n Antitrust Litig., 918 F. Supp. 283, 286 (D. Minn. 1996) in support of this argument.
But that argument is ill-founded because both Best Buy and the Jn re Airline Ticket court—a case that
has never been cited in a published opinion for this proposition—overread IJlinois Brick Co. v.
Illinois, 431 U.S. 720 (1977), which does not address mitigation.

In Hlinois Brick, the Supreme Court held that in cases under Section 1 of the Sherman Act
seeking damages for overcharges from horizontal price fixing, a direct purchaser is not subject to a
defense for any portion of any overcharge it subsequently recoups through “pass-on.” J/L Brick, 431
U.S. at 744 & n.29. In this regard, the Court merely acknowledged the rule of Hanover Shoe, Inc. v.
United Shoe Machinery Corp., 392 U.S. 481 (1968). Hanover Shoe held there was no pass-on
defense in monopolization cases under Sherman Act Section 2. Its reasoning should apply to
Section | cases as well. J//. Brick, 431 U.S. at 744 (“We reject these attempts to carve out exceptions
to the Hanover Shoe rule for particular types of markets.”). Nothing in I//inois Brick created a special
rule regarding mitigation in horizontal price-fixing cases, or even addressed the concept of
mitigation. In //linois Brick, the Supreme Court held that Hanover Shoe applies to horizontal price-
fixing cases, but J/linois Brick was about an analytically distinct issue, as the procedural history of
that case makes plain.

Hanover Shoe involved a claim by a shoe manufacturer that it was overcharged for machinery
by a monopolistic supplier in violation of Section 2 of the Sherman Act. The defendant sought to
avoid the overcharge by contending that the plaintiff had passed them on after the fact. The district

court denied that pass-on defense. But it carefully distinguished the pass-on defense from mitigation

investor, not one who loses his innocence and then waits to see how his investment turns out before
he decides to invoke the provisions of the Act.”)). So too, the Sherman Act was meant to protect
innocent direct purchasers, not those who learn of potential antitrust violations and then game the
system to increase treble damages.

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of damages, which it held unquestionably applied: “Of course, [the plaintiff] is subject to the rule of
avoidable consequences and cannot sit still and let damages pile up when reasonable steps would
have prevented further consequential damages.” Hanover Shoe, Inc., 185 F. Supp. at 829 (M.D. Pa.
1960), aff'd per curiam, 281 F.2d 481 (3d Cir. 1960) (calling the district court’s decision “thoroughly
convincing”), cert. denied, 364 U.S. 901 (1960). The district court recognized, in particular, a
distinction between the inaction of letting future damages pile up (a failure to mitigate), and the
subsequent positive action of recovering a pass-on for existing damages. It was only the latter that
the Court said had no bearing on damages.

The longstanding Hanover Shoe ruling is supported by sound policy. The antitrust laws do
not allow a customer to make a bet on treble damages. Instead, the duty to mitigate in antitrust cases
prevents plaintiffs from profiting, through treble damages, from their inaction while simultaneously
passing on overcharges to the American public. The purpose of the Sherman Act is to protect the
public, and treble damages serve that purpose by encouraging plaintiffs to diligently investigate to
uncover unlawful activity and then bring civil suits, See Klehr v. A.O. Smith Corp., 521 U.S. 179,
195 (1997) (“private civil actions seek not only to compensate victims but also to encourage those
victims themselves diligently to investigate and thereby to uncover unlawful activity.”), S. Rep. 84-
619, 84th Cong. (Ist Sess. 1955), reprinted in 1955 U.S.C.C.A.N. 2328, 1955 WL 3839, at *2330
(“damages of ‘persons’ are trebled so that private persons will be encouraged to bring actions which,
though brought to enforce a private claim, will nonetheless serve the public interest in the
enforcement of the antitrust laws.”). The promise of treble damages is therefore not just an award for
the plaintiff, but a bargain between the plaintiff and society where “society expects to benefit by
having the violation suppressed.” Phillip E. Areeda & Herbert Hovenkamp, ANTITRUST LAW: AN
ANALYSIS OF ANTITRUST PRINCIPLES AND THEIR APPLICATION, (Aspen Pub. 2011), at § 320a (citing
Rotella v. Wood, 528 U.S. 549, 558 (2000) (noting that “suppressing racketeering activity” is an
“object pursued the sooner the better”)).

Absent a mitigation requirement, however, treble damages become a perverse incentive for

plaintiffs to sit back and accumulate alleged damages for their own benefit. See Klehr, 521 U.S. at

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187 (rejecting civil RICO limitations rule that “would permit plaintiffs who know of the defendant’s
pattern of activity simply to wait, sleeping on their rights [. . .] as the pattern continues and treble
damages accumulate” (internal quotations and citation omitted)); Neil W. Hamilton & Virginia B.
Cone, Mitigation of Antitrust Damages, 66 OR. L. REV. 339, 355 (1984) (noting “the perverse impact
of trebling on a plaintiffs incentive to minimize damage”); Charles A. Sullivan, Breaking Up the
Treble Play: Attacks on the Private Treble Damage Antitrust Action, 14 SETON HALL L. REV. 17, 31-
32 (1983). This perverse incentive is balanced by the duty to mitigate damages, which prevents
plaintiffs from profiting from their inaction. In re Visa'Check/MasterMoney Antitrust Litig,, 280 F.3d
124, 149-50 (2d Cir. 2001) (Jacobs, C.J., dissenting) (“Enforcement of the mitigation duty may be
even more critical in antitrust cases than in cases sounding in contract or tort because an antitrust
plaintiff seeking treble damages can profit by avoiding mitigation of loss.”); Fishman v. Estate of
Wirtz, 807 F.2d 520, 558 (7th Cir. 1986) (antitrust plaintiff should not be rewarded for “waitling]
passively for many years to collect his treble-damages award”).

Best Buy’s suggestion that it could sit knowingly idle for over three years as it incurred (and
passed on to U.S. consumers at rates that frequently exceeded 100%)* alleged overcharges from what
it believed to be a “panel cartel,” does not promote efficient resolution of antitrust claims, and is
unsupported by law, contrary to the purpose of the antitrust laws, and harmful to the public. It should
be rejected.

2. Best Buy Failed te Take Reasonable Steps After Learning of the Alleged
“Panel Cartel”

Once Best Buy had knowledge and evidence of what it was told was a “panel cartel”—no
later than the end of May 2003—there were at least two steps that Best Buy could reasonably have
taken at relatively little expense to itself to thwart a “panel cartel’s” effectiveness. First, Best Buy

could have lodged a complaint with the government enforcement agencies charged with investigating

* See Defendants’ Motion for Partial Summary Judgment Re Downstream Pass-On filed concurrently
with this motion.

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antitrust violations, the DOJ or the Minnesota Attorney General. Second, it could have sued the
Defendants (or at least threatened to do so).

Such a lawsuit or government investigation would have stopped any alleged “panel cartel”
participants in their tracks, as illustrated by the reaction to the disclosure of the DOJ’s investigation
here. Testimony from numerous witnesses in the case establishes that LCD panel manufacturers
ceased communications upon learning of antitrust investigations or litigation. See Declaration of
Craig A. Benson In Support of Defs.’ Joint Motion for Partial Summ. J. Re Dell’s Failure to Miti gate,
MDL Dkt. No. 5847-1, Ex. 49 (Sharp witness at 285:2-19); Ex. 50 (Sharp witness at 145); Ex. 51
(Sharp witness at 128:19-129:21); Ex. 52 (LG witness at 423:25-425:2); Ex. 54 (Samsung witness at
45:18-23).

Best Buy had these options, but Best Buy elected not to pursue any of them. Nor did Best
Buy do anything else to mitigate its damages. It did not do so on May 15, 2003 when it was told
about meetings among competitors. It did not do so following the May 28, 2003 presentation of the
information to Best Buy’s management and executives. And it did not do so af any point over the
next three-and-a-half years before the DOJ disclosed its investigation. Best Buy instead simply
continued its relationship with the Defendants and other LCD product vendors as usual.

Best Buy could have approached the Department of Justice. Reporting what is believed to
be illegal activity is a reasonable and appropriate way to mitigate damages. For example, in MCI v.
AT&T, MCI accused AT&T of violating Sections 1 and 2 of the Sherman Act, including by denying
MCI access to telephonic interconnections and engaging in predatory pricing. 708 F.2d at 1092,
1111. Following a trial on the merits, the district court instructed the jury on plaintiff MCI’s duty to
mitigate damages by formally objecting to the Federal Communications Commission (“FCC”). Id. at

1207. It instructed:

Plaintiffs have a Duty to Mitigate Damages[.] AT&T contends that the
FCC had the power to resolve many of the alleged unlawful acts of
which MCI complains and that if MCI had filed complaints with the
FCC, or formally objected to tariffs of AT&T, the FCC could have
resolved [the] disputes [. . .] If you find that MCI could have avoided
some or all of its economic losses by complaining to the FCC and that
MCI acted unreasonably in failing to complain to the FCC, you cannot
award MCI the damages it could have avoided.

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Id. This, of course, makes sense. Where a government agency has power to resolve allegedly
unlawful acts, the mitigation duty requires a plaintiff to report known unlawful acts if it is reasonable
to do so in order to recover damages that could otherwise have been avoided. Id

Here, it would have been not only reasonable, but obvious, for Best Buy to report its
knowledge to the DOJ. See Model Instructions at F-48 (“Commercially reasonable measures mean
those measures that a prudent businessperson in the plaintiffs position would likely have adopted,
given the circumstances as they appeared at that time.”). The cost of reporting to the DOJ would
have been low compared to the injury Best Buy now claims—over $850 million in alleged actual
damages.

Reporting this information to the DOJ would have been easy—Best Buy could have made an
unannounced visit or phone call, or submitted an anonymous complaint through the mail or internet.
See U.S. Dep’t of Justice Antitrust Div., ANTITRUST DIVISION MANUAL, Fourth Ed. (2008) (“DOJ
Manual”), at I1I-6. Such reports are common, with one well known study reporting that more than
50% of price-fixing conspiracies are detected through complaints by consumers, competitors, or
employees. George A. Hay & Daniel Kelley, An Empirical Survey of Price-Fixing Conspiracies, 17
J.L. & Econ. 13 (1974), Best Buy cannot argue that it was unaware of the availability of this
recourse. Best Buy is one of the largest retail companies in the United States, with a sophisticated
legal department, and it provides antitrust training to its employees. Best Buy deponents aware of the
“panel cartel” testified that they received antitrust training from Best Buy and were instructed that
agreements among competitors to raise prices were wrong. They were also instructed to report such
conduct to their superiors or to the Best Buy legal department.

Because knowledge of a DOJ investigation (or even a threatened investigation) is sufficient to
curtail activity like the competitor discussions that Best Buy alleges harmed it here, Best Buy could
have mitigated any damages going forward by promptly reporting its concerns to the DOJ and
presenting the DOJ with the evidence it possessed of the “panel cartel” in May 2003. Because the
DOJ initiated an investigation on the facts of this case in 2006, there is no reason the DOJ would not

have also initiated an investigation in 2003 relating to the same conduct. See DOJ Manual at III-7-8

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(explaining that matters of potential significance, as determined by factors such as volume of
commerce and global reach, are more likely to be investigated).

Moreover, there is every reason to believe that, if Best Buy had made a timely disclosure to
the DOJ, such an investigation would have become public, and thus forced the cessation of the
alleged illegal activity, within a year. Specifically, Samsung approached the DOJ with allegations of
TFT-LCD “collusive activity” on January 27, 2006 as an amnesty applicant, and eleven months later
the DOJ’s investigation was made public. It is reasonable to assume a schedule at least as aggressive
would have occurred had the DOJ launched an investigation several years earlier. “(O]ften
information received from a complainant provides a sufficient basis for the request [to convene a
grand jury] without conducting a preliminary investigation.” DOJ Manual at III-87. Even where the
DOJ conducts preliminary investigations, they can be initiated in a matter of days after receiving a
complaint, and are normally completed in a “few weeks to a few months.” Jd. at ILI-11 (describing
expedited review procedures), III-21. As soon as the DOJ develops evidence confirming the alleged
anticompetitive conduct, the DOJ commonly seeks authority to convene a grand jury and commence
a formal investigation. See id. at III-87. The discovery tools used by the DOJ, including subpoenas,
interviews, and search warrants, inevitably result in public disclosure of the investigation. See id. at
II-90-97,

The Court should grant Defendants’ motion for summary judgment as to Best Buy’s failure to
mitigate because Best Buy chose not to exercise the option of notifying the DOJ of its knowledge of
the “panel cartel.”

Best Buy could have filed a timely lawsuit. Appropriate efforts to mitigate damages also
include initiating administrative proceedings and civil litigation. See Daviton v. Columbia/HCA
Healthcare Corp., 241 F.3d 1131, 1140 (9th Cir. 2001); Probst v. Reno, 917 F. Supp. 554, 562 (N.D.
Ill. 1995). Judge Posner explained that where a party fails to seek judicial remedies when he believes
his rights are being violated, such inaction may condone the perceived violation and “casts doubt on
its claim to have been harmed.” A/’s Serv. Ctr. v. BP Prods. N. Am., Inc., 599 F.3d 720, 727 (7th Cir.

2010) (commenting that plaintiffs state law breach of contract claims may be barred by plaintiffs

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failure to mitigate damages by neglecting to enforce his injunction). The failure to pursue injunctive
relief when available has even sometimes been considered a failure to mitigate damages. See Miller
v. Perry Corp., No. 3:05-cv-7454, 2007 U.S. Dist. LEXIS 28399, at *13-15 (N.D. Ohio Apr. 17,
2007) (“Because Miller did not seek injunctive relief [. . .], he cannot now request damages that he
failed to try to lessen.”); Relizon Co. v. Shelly J. Corp., 2004 Ohio 6884, at P23 (Ohio Ct. App. 2004)
(affirming availability of mitigation defense). In one case on the topic, the Ohio Court of Appeals
reasoned that, whether or not the party seeking an injunction was successful, the mere act of pursuing
such relief would have expedited the proceedings and limited the damages period. /d. at P22.

Best Buy could have simply filed a lawsuit in 2003 to mitigate its damages. Indeed, at the
time Best Buy received the “panel cartel” information in May 2003, Best Buy opted-out of a class
action case that was asserting claims for price-fixing of “interchange fees” in the banking industry
and filed its own suit. See In re Payment Card Interchange Fee and Merchant Discount Antitrust
Litig., 2006 WL 6846702, at *5 (E.D.N.Y. Aug. 7, 2006) (noting that in “mid-2003” Best Buy Co.,
Inc., which was represented by Craig Wildfang and the Robins Kaplan firm, opted out of the
interchange fee class and commenced independent actions that included allegations regarding
interchange fees).*> In May 2003, Best Buy knew how to initiate a lawsuit and assert a price-fixing
claim. It chose not do so for over three years before the DOJ disclosed its investigation.

Wl. CONCLUSION

For the foregoing reasons, Defendants respectfully request that the Court enter partial
summary judgment in their favor as to Best Buy’s claims under the Sherman Act and the Minnesota
Antitrust Laws of 1971 relating to conduct before October 8, 2006, as barred by the applicable statute
of limitations, and barring any claims for damages for conduct after June 1, 2003 based on Best

Buy’s failure to mitigate its damages.

> Mr. Wildfang and other attorneys at the Robins Kaplan firm are also counsel of record for Best Buy
in this case. See MDL Docket.

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Attestation: The filer of this document asserts that the concurrence of the signatories

thereto has been obtained.

DEFS.’ MOT. FOR SUMM. JUDGMENT RE TIME BARRED CLAIMS AND FAILURE TO MITIGATE
Case No. 3:07-MD 1827 SI, Case No. 3:10-cv-4572 SI

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CERTIFICATE OF SERVICE BY E-MAIL
(Federal Rules of Civil Procedure Rule 5(b))

I declare that 1 am employed with the law firm of Freitas Tseng & Kaufman LLP, whose address is
100 Marine Parkway, Suite 200 Redwood Shores, California 94065. I am nota party to the case, and
Tam over the age of eighteen years.

I further declare that on July 16th, 2012, I served a copy of:

DEFENDANTS’ JOINT MOTION FOR PARTIAL SUMMARY JUDGMENT DISMISSING
BEST BUY’S PRE-OCTOBER 8, 2006 INDIRECT CLAIMS AS TIME BARRED AND FOR
PARTIAL SUMMARY JUDGMENT RE FAILURE TO MITIGATE DAMAGES

on the following by electronically mailing a true and correct copy to all parties of record through the
CM-ECF system in accordance with Federal Rules of Civil Procedure Rule 5(b):

I declare under penalty of perjury that the above is true and correct.

Executed at Redwood Shores, California, this 16th day of J uly, 2012.

By: ___/s/ Robert E, Freitas
Robert E. Freitas (SBN 80948)
FREITAS TSENG & KAUFMAN LLP
100 Marine Parkway, Suite 200
Redwood Shores, California 94065
Telephone: (650) 593-6300
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CERTIFICATE OF SERVICE BY E-MAIL
Case No. 3:07-MD 1827 SI, Case No. 10-cv-4572 SI

